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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA,                :
                                         :
                                         :
                                         :         CRIMINAL ACTION NO.
v.                                       :         1:18-CR-00309-LMM-LTW-1
                                         :
CHALMER DETLING, II,                     :
                                         :
                                         :
       Defendant.                        :

                    Procedures for the Conduct of Jury
                                  Trials

The below is the plan for conducting jury trials in light of COVID-19.


Juror Attendance Process:
       Jurors will be screened at entry to courthouse. Any juror who does
       not have a face covering or mask will be provided a mask.
       Any juror who refuses to wear a mask will not be allowed to enter
       the courthouse and will be identified to the Jury Office for deferral.
       Jurors will not be allowed to wear masks in the courthouse that
       bear a political message.
       As a temporary measure, to reduce the significant contact required for the
       securing of mobile phones at the courthouse entrance, jurors will be
       allowed to retain their mobile phones in the courthouse until further
       notice by the Court. Jurors will be instructed by the Jury Office that they
       may not take photographs, record audio, or access the internet on their
       mobile phones while in the courthouse. If jurors violated these rules, the
       CSOs will take up their phones. Jurors must leave their phones in the jury
       room and not have access to them during trial or deliberations.

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     Jurors must present their summons to identify themselves as jurors to
     CSOs to retain cell phones.
     All jurors will report to the ceremonial courtroom on the first day.
     Attorneys and Defendant will report to the trial courtroom. Voir dire
     will be conducted in the ceremonial courtroom.
     Hand sanitizer will be available outside the courtrooms to which the
     jurors will be reporting.
     Jurors will continue to use the same seat unless directed otherwise by
     Judge once in the courtroom.
     Each designated seat will be provided a bottle of water and will receive a
     plastic bag that can be used by the juror for any personal effects, but
     which will also contain a stick-on juror badge and juror handbook.
     Jury Clerk/DIC will take attendance, address any previously unaddressed
     issues with juror service, and provide orientation addressing:

                  o Parking ticket validation (Atlanta) – Jurors will
                    validate their own parking tickets using hand
                    sanitizer at the counter after doing so
                  o Importance of maintaining proper social distance
                    and personal hygiene
                  o Limits on elevator occupancy – 4 (1 in each corner)
                  o Necessity of reporting any onset of flu-like
                    symptoms (Telephone number for CRD)
                  o Designated bathrooms for juror use and limits
                    on simultaneous occupancy

     The atriums and hallways outside courtrooms can be used for breaks
     and provide adequate space for social distancing.
     The doors to rooms into which jurors will be taken will be propped
     open by jury staff or Deputies-in-Charge when feasible to avoid
     repeated touching of handles by multiple jurors and improve airflow

Trial – Set Up:
     The podium will be moved so that it is nearer to counsel tables.
     Acrylic screens will be installed between witness box and Judge
     and witness box and jury.

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     Plastic face shields are available for use in court by witnesses and jurors.
     Jurors must also wear a mask. Face shields are not disposable, and the
     wearer is responsible for cleaning throughout trial. Witness and juror
     face shields will be deposited in a box at the conclusion of use for
     spraying with a viricide by court staff prior to reuse. Due to the limitation
     on numbers of face shields and their cost, only those jurors selected to
     serve would receive face shields to wear with their masks if they so
     request.

Conduct of Voir Dire:
     Judge will wear a mask at all times unless instructing jurors – will
     explain this to jury.
     Judge will also note the importance of observing screening and personal
     safety protocols and how this is only for health and safety.
     Jurors will wear masks unless they have a response to a voir dire
     question. Then, they will move to the microphone and temporarily
     remove their mask to answer questions. The juror will replace their
     mask after finishing and return to their seat.

Jurors Selected:
     Those selected to serve on the jury will be provided an individually
     wrapped snack, a bottle of water, a small notepad, and a pencil or pen.
     Jurors will wear masks at all times except for eating and drinking. No
     food and drinks will be allowed in the courtroom.
     Jurors will remain in the same seats in courtroom throughout trial
     and remain in the courtroom for deliberations. They can sit
     wherever they would like for deliberations.
     Plexiglass shield will be in place on bench between witness and Judge
     and witness and jurors.

Trial Conduct:
     Attorneys:
           May remove masks only when speaking and must speak from place
           at counsel table or lectern.
           Will use trial notebooks and exhibits on screens with witnesses to
           the extent possible and to limit the need to approach the witness and


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       get near the jurors.
       Will observe social distancing with other trial participants,
       including jurors, witnesses, court staff, and Judge, unless otherwise
       permitted by Judge.
       Will remove themselves from the courtroom for jury deliberations.
  Witnesses: (Counsel will be asked to ensure witnesses and any
  anticipated family in attendance are aware of the courtroom
  procedures and mask requirements)
       Will take the stand according to path identified by Judge.
       Will wear a mask when not testifying.
       Will use hand sanitizer provided by the Court when taking seat in
       witness chair.
       Will observe social distancing with other trial participants,
       including jurors, other witnesses, court staff, and Judge, unless
       otherwise permitted by Judge.
       Will clean their area before exiting the witness stand.
  Defendant:
       Defendant will wear a face shield. Defense counsel will also
       be allowed to wear a face shield if they so request.
       English speaking defendants will conduct confidential
       communications with counsel at counsel table using Channel 2 on
       interpreter system and headphones with mics provided by the
       Court if requested.
  Jurors:
       Will sit in designated seats for the duration of the trial and
       not change seats except for deliberations.
       Will observe social distancing with other trial participants,
       including other jurors, witnesses, court staff, and Judge, unless
       otherwise permitted by Judge.
       Will use restrooms (jury room and hallways) designated by Judge
       for their use.
       Will have access to 2 juror rooms for breaks and lunch. Chairs will
       be split between the rooms so the jurors don’t crowd into one room.

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           Will not use their cell phones to take pictures or record while in the
           courthouse.
           Will use hand sanitizer and bleach wipes provided by the Court.
           Will deliberate in courtroom or other larger room – the room will
           be locked (doorstops engaged), windows covered, and external
           sound and (USMS) video systems turned off during deliberations.
     Members of the Public:
           Will wear masks while in the courthouse.
           Will always observe social distancing within the courthouse. In the
           courtroom, they should stay 6 feet away from each other unless
           they are members of the same pod.

GSA has set HVAC to maximize air replacement in courtrooms.




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